Case 2:23-cv-09991-SVW-ADS Document 7 Filed 12/01/23 Page 1 of 2 Page ID #:28


           District Court of the United States                                FILED
                                                                    CLERK, U.S. DISTRICT COURT

                         for the
             Central District of California                              12/1/23
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                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                    BY: ___________________ DEPUTY
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                                  ) Civil Action No.:
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Vessel   commonly known      as   )
                                  )
Citizenship of the United States, )
                                  )
Defendants                        )



     Request for Service by a Marshal or Someone Specially Appointed
                           Under 28 U.S.C. 1916
Case 2:23-cv-09991-SVW-ADS Document 7 Filed 12/01/23 Page 2 of 2 Page ID #:29




To the Court,

       I ask under Code Section 1916 of Title 28 that this court have this matter served by either
a Federal Marshall or someone specially appointed.


                                     Respectfully Submitted,



Date: _____________           By: _________________________________________________
                                     Kristen
                                     Joseph
                                     5434 Premiere Avenue
                                     Lakewood California [90712]
                                         Tel. (562) 314-8111
                                     Self Represented
